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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




    CHARLIE A. POWELL, II,                CV 20-10171 DSF (AFMx)
        Plaintiff,
                                          Order re Sanctions Pursuant to 28
                     v.                   U.S.C. § 1447(c)

    ETHAN HEALY, et al.,
        Defendants.



       On November 19, 2020, the Court remanded this case to Tennessee
    state court and gave Defendants an opportunity to show why they
    should not be sanctioned for removing the case with no basis in law or
    fact. The Court now finds that Defendants should pay Plaintiff’s just
    costs and expenses incurred due to the removal.

       “An order remanding the case may require payment of just costs and
    any actual expenses, including attorney fees, incurred as a result of the
    removal.” 28 U.S.C. § 1447(c). “[A]bsent unusual circumstances,
    attorney’s fees should not be awarded when the removing party has an
    objectively reasonable basis for removal.” Martin v. Franklin Capital
    Corp., 546 U.S. 132, 136 (2005).

       Defendants had no objectively reasonable basis for removal in this
    case. First, the case was removed from Tennessee state court to this
    Court despite the direct statutory command that a state court action
    “may be removed by the defendant or the defendants, to the district
    court of the United States for the district and division embracing the
    place where such action is pending.” 28 U.S.C. § 1441(a) (emphasis
    added). Defendants’ only explanation for their violation of this
    directive seems to be that they wanted to see if Plaintiff and the Court
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    would acquiesce to the improper removal. See Opp’n at 7-8. Second, it
    is clear from the face of the complaint that there is no diversity
    jurisdiction because Plaintiff is a member of the LLC Defendant and
    LLCs are citizens of the same states as their members. Defendants
    provide no explanation for why they ignored this problem and removed
    the case anyway.

        It is obvious that there was no reasonable basis for removal of this
    case from Tennessee state court to this Court. Therefore, Plaintiff’s
    request for reasonable expenses, including attorney’s fees, is granted in
    principle. However, Plaintiff did not adequately establish the amount
    of the requested expenses. The parties are ordered to meet and confer
    no later than January 12, 2021 to attempt to agree on the amount of
    attorneys’ fees to be awarded. If no agreement is reached, Plaintiff may
    submit supplemental evidence in support of incurred fees and costs
    that complies with the Court’s Order re Format of Time and Expense
    Records 1 no later than January 20, 2021. Defendant may file an
    opposition relating to the amount of fees and costs only no later than
    January 27, 2021.

        IT IS SO ORDERED.



    Date: December 28, 2020                ___________________________
                                           Dale S. Fischer
                                           United States District Judge




    1This standing order is available at the bottom of the page at
    http://www.cacd.uscourts.gov/honorable-dale-s-fischer.



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